           Case 1:24-cv-01344-RP            Document 1-1        Filed 11/04/24      Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  HOMEVESTORS OF AMERICA, INC.,
      Plaintiff,                                       :   Case No.: 1 I 2 4 1 1 C Q 1 J 4 .
                                                       §   Underlying Litigation
  V.                                                   §   C.A. No. 22-1583-RGA
                                                       §   United States District Court
  WARNER BROS. DISCOVERY, INC.,                        §   For the District of Delaware
      Defendant.                                       §

                                       Declaration of Hannah Waldman

           1.        I am attorney licensed to practice law in the state of California and an associate at

Greenberg Glusker Fields Claman and Machtinger. Except as otherwise stated, the statements

contained herein are based upon my own personal knowledge and, if called as a witness, I would

testify competently thereto.

          2.         I represent Warner Bros. Discovery, Inc. in the litigation pending in the District of

Delaware with the case caption HomeVestors of America, Inc. v. Warner Bros. Discovery, Inc.,

C.A. No. 22-1583 (D. Del.). A true and correct copy of HomeVestors of America, Inc.'s

("HomeVestors") First Amended Complaint is attached hereto as Exhibit 1.

          3.         On March 8, 2024, Warner Bros. Discovery ("WBD") served a subpoena on

HomeVestors' marketing agency, Calise Partners, LLC d/b/a Imaginuity ("Calise"). A true and

correct copy of the subpoena is attached as Exhibit 2.

          4.         On March 22, 2024, Calise served its responses and objections to the subpoena. A

true and correct copy of Calise's responses and objections is attached as Exhibit 3.

          5.         On May 14, 2024, my co-counsel, Joshua M. Geller, and I met with counsel for

Calise, Steven Callahan. During this meeting, Mr. Geller offered to provide search terms in order

to narrow the scope of the requests, which Mr. Callahan agreed to in principle.



                                                      1

8389 l-00028/5317598. 7
            Case 1:24-cv-01344-RP             Document 1-1        Filed 11/04/24      Page 2 of 3



           6.         The next day, counsel for Calise sent an email stating that "Calise will not be

producing any e-mails or further documents in response to WBD's subpoena." A true and correct

copy of this email is attached as Exhibit 4.

           7.         Since that exchange, WBD has continued to engage in the discovery process with

HomeVestors. WBD has served multiple rounds of written discovery and has taken the depositions

of all of HomeVestors' 30(b)(6) designees.              HomeVestors has also served 14 productions,

including one as recently as October 28, 2024. Despite this, WBD has been unable to obtain any

Calise communications about HomeVestors' reputation and its internal assessment of consumer

perceptions of HomeVestors. WBD has also not received any internal Calise documents pertaining

to WBD's production company's alleged outreach to Calise.

           8.         In its initial disclosures, Home Vestors stated that Charlie Calise, founding

chairman of Calise Partners, has knowledge of HomeVestors' trademarks, including their use,

fame, and goodwill, and of HomeVestors' advertising under those marks. A true and correct copy

ofHomeVestors' Third Amended Initial Disclosures is attached as Exhibit 5.

           9.         HomeVestors also designated Charlie Calise as its 30(b)(6) designee on topics 7-

15, 19-24, 31-32, as well as the individual qualified to testify on Interrogatory Nos. 1, 2, 3, 4, 5,

and 8. True and correct copies of HomeVestors' Responses and Objections to WBD's 30(b)(6)

Notice of Deposition and the non-confidential portion of HomeVestors Second Amended

Responses to WBD's Interrogatories are attached as Exhibits 6 and 7 respectively. A true and

correct copy of an email identifying HomeVestors' designees is attached as Exhibit 8.

           10.        On its website, Calise states that its new entity, AdVestors, "will provide marketing

and media services to the 170+ HomeVestors franchisees throughout the United States." A true

and correct copy of a printout of this webpage is attached as Exhibit 9.



                                                        2

83891-00028/53 l 7598. 7
            Case 1:24-cv-01344-RP           Document 1-1       Filed 11/04/24     Page 3 of 3



           11.        HomeVestors' reputation has been the subject of multiple negative press stories.

Some of these stories ran as part of ProPublica's "Ugly Truth" series, which includes 10 articles

published between May 2023 and January 2024. A true and correct copy of one of these publicly

available articles is attached as Exhibit 10.

           12.        HomeVestors and WBD entered into a protective order over the underlying

litigation. A true and correct copy of that order is attached as Exhibit 11.




     I declare under penalty of pe1jury that the foregoing is true and correct.




    Executed November 1, 2024

                                                  Hannah G. Waldman




                                                     3

8389 I-00028/53 17598. 7
